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IN THE UN:TED sTATEs DISTRICT coURT /
FOR THE wEsTERN DISTRICT oF TENNESSEE 5 ,*, § '
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DEBOR.AH S. PICKLER,
Plaintiff,
VS. NO. O4-2898-Ma
KINDRED NURSING CENTERS LP,
d/b/a CORDOVA REHABILITATION
AND NURSING CENTER,

Defendant.

 

ORDER AMENDING SCHEDULE

 

Pursuant to defendant's May 17, 2005, motion to modify the
scheduling order in this matter, the court held a status
conference on June 7, 2005. Attending on behalf of the plaintiff
were Les Jones and Trey Thacker. Participating on behalf of the
defendant were David Sadlow, and by telephone, Darryl Brand. For
good cause shown, the court grants the motion and amends the

schedule as follows:

l. The deadline for expert disclosures is August l, 2005.
2. The deadline for expert rebuttal is August 3l, 2005.
3. The deadline for completing all discovery is

September 30, 2005.

4. The parties will submit a joint proposed pretrial order
by 5:00 p.m. on October 14, 2005.

5. A pretrial conference will be held on Friday, Ootober

21, 2005, at 9:00 a.m. Out of town counsel may

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with Hu|e 58 and/or 79(3) FRCP on 49 '/Q 'Qf,)'

 

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participate by telephone.
6. The non-jury trial is reset to Monday, October 3l,

2005, at 9:30 a.m. and is expected to take 2 days.

Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this iqyd`day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-02898 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

